 Case 2:16-cv-00450-JRG Document 78 Filed 08/22/16 Page 1 of 1 PageID #: 903



                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC                     §
                                               §
   Plaintiff                                   §
                                               §
                                                         Case No. 2:16-CV-000450-JRG
         v.                                    §
                                                         Lead & Consolidated Case
                                               §
CITIBANK, N.A.                                 §
                                               §
   Defendant                                   §


                     ORDER OF DISMISSAL WITHOUT PREJUDICE
    .
         On this date, the Court considered Plaintiff Symbology Innovations, LLC’s motion

to dismiss without prejudice Defendant Citibank, N.A. (Dkt. No. 77) pursuant to Fed. R. Civ. P.

41(a).
         Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant Citibank, N.A. are

dismissed without prejudice.

SO ORDERED

          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 22nd day of August, 2016.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
